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                         Exhibit 2
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---------- Forwarded message ---------
From: Jami Rodgers <jrodgers@usaid.gov>
Date: Tue, 11 Feb 2025 at 05:48
Subject: For Immediate Action: Update on Termination of
Awards
To: USAID OAA FSN Network Mail List
<usaidoaafsnnetwork@usaid.gov>, Mission & FS CO/AOs - ALL
<mission-fs-coaos-all@usaid.gov>, M.OAA Mail List (USAID)
<m.oaamaillistusaid@usaid.gov>,
<allexosmissionmaillist@usaid.gov>
Cc: Nadeem Shah <nshah@usaid.gov>, Adam Cox
<acox@usaid.gov>, Matthew Johnson
<matjohnson@usaid.gov>, OAAForeignOps
<OAAForeignOps@usaid.gov>, Gregory Marchand
<gmarchand@usaid.gov>, Chitahka Floore
<cfloore@usaid.gov>, Deborah Broderick
<dbroderick@usaid.gov>, Lyudmila Bond <lbond@usaid.gov>,
Lynn Winston <lwinston@usaid.gov>, Karen Nartey
<knartey@usaid.gov>


Colleagues,

Agency leadership has asked that we move quickly to terminate the
awards which have been reviewed and approved by Secretary
Rubio. I am requesting that you please complete termination
notifications from Tranche 1 and Tranche 2 by close of
business Tuesday, February 11. I have also linked Tranche 3 to
this note. Please have these completed by Wednesday, February
12 close of business.

To help you in this process, I want to address a few general
questions received related to the termination of awards.

   1. Under whose authority is the Office of Acquisition and
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   Assistance terminating these awards? What should be
   used as the basis for determinations to issue
   termination notices?

    Answer: The termination authority is delegated to me as
    the Senior Procurement Executive from the Acting USAID
    Administrator, Secretary Rubio, who has instructed USAID
    to terminate these awards as a part of the President’s
    Executive Order on Reevaluating and Realigning United
    States Foreign Aid.

    An Action Memorandum for each tranche of awards was
    reviewed and cleared through the State Department’s
    Director of Foreign Assistance and approved by the
    Secretary. These actions memos will be filed in a shared
    drive. This documentation along with this email can be
    used to support the terminations.

2. Can GC provide a formal written opinion confirming that
   Contracting & Agreement Officers are acting within
   their warrant authority in executing these terminations?
   Additionally, can GC clarify that COs/AOs will not be
   held personally liable if the Agency is later found to
   have acted arbitrarily or violated federal statutes, such
   as the Impoundment Act.

    Answer: COs/AOs are within their authority to execute
    these terminations as delegated by their warrants from the
    Senior Procurement Executive. Further, the Office of the
    General Counsel has provided a longstanding and detailed
    written opinion considering the issue of personal liability for
    COs. It concludes that COs, unlike disbursing and
    certifying officials, may generally not be held personally
    liable for loss of funds resulting from their official actions;
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    employees may generally only be subject to administrative
    penalties for any negligence on their part; and several
    authorities protect U.S. Government employees from being
    sued in their personal capacities for actions taken in
    accordance with their official duties.

3. Do termination notices need to include all aspects of
   termination such as business closure, staff disposition,
   and property settlement ? Could those be provided at a
   later time?

    Answer: Given the timeline for completing termination
    notifications in Tranches 1 and 2 by COB Tuesday,
    February 11, the termination notices do not need to
    contain termination process details. COs/AOs may use
    these templates to address the immediate need. More
    detailed and robust instructions for finalizing the
    termination process will be provided.

4. How do we address awards that we believe have a
   waiver or exception in place or those that ensure
   Agency’s compliance with statutory requirements?

    Answer: Please work with your relevant Mission or
    Bureau leadership (e.g., MD or AA) to flag these items for
    Agency leadership. Mission or Bureau leadership will be
    responsible for raising these activities to the
    Administrator’s Office and providing a compelling
    justification for consideration for only those actions that are
    waived or present a grave risk to the Agency if
    discontinued. Please also note these actions in the
    tracker.

5. Which awards should we focus on?
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         Answer: As of this email on Monday February 10, we
         have three major tranches of awards for your immediate
         review.

         The documents are available below. Please note in the
         tracker once you have taken action to terminate the
         award. Finally, please note that there are multiple tabs on
         both documents.

         2.9.25 USAID Contract + Grants to Terminate (Tranche
         1)_v4
         2.10.25 USAID Grants & Media Contracts to Cancel
         (Tranche 2)_v2
         2.10.25 USAID Contract Cuts (Tranche 3)_v4

Thank you for your continued support and immediate attention to
this effort.

Jami


Jami J. Rodgers, CPCM

U.S. Agency for International Development (USAID)

Chief Acquisition Officer and Senior Procurement Executive
Director, Bureau for Management Office of Acquisition and
Assistance (M/OAA)




2.9.25 USAID Contract + Grants to Terminate (Tranche
1)_v4, 2.10.25 USAID Grants & Media Contracts to
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Cancel (Tranche 2)_v2, 2.10.25 USAID Contract Cuts
(Tranche 3)_v4, CO Personal Liability - Answer -
122711.doc - Google Docs.pdf
